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EXHIBIT 6
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About Us

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About the Kentucky Colonel Foundation

The Kentucky Colonel Foundation, formerly Kentucky Colonels international is a model not-
for-profit, charitable membership organization made up of Kentucky colonels promoting
and supporting other Kentucky colonels as goodwill ambassadors for the Commonwealth of
Kentucky at home and abroad.

GS
History

The Kentucky Colonel Foundation (KCF) is an objective that began in 1998 online to extend
goodwill and project fellowship internationally between the Commonwealth of Kentucky to
people of other nations and states around the world, in the grand effort to bestow an
official high regard upon the title of Kentucky Colonel as an internationally recognized
award and proper title. The focus of KCF is upon its colonels being legally designated as
goodwill ambassadors, nationally and internationally while being officially recognized as
representatives of traditional Kentucky values when travelling abroad.

The Kentucky Colonel Foundation began as an idea conceived by Col. David Wright to
establish an active international membership organization that members could
participate in socially and perpetuate their recognition as Kentucky colonels in a dignified
and professional manner. Perhaps more of an equal social order rather than as military
Kentucky colonel brigade, command, sociopolitical group, or a subjective membership
structure. We follow the rules of the Rochdale principles and emulate a horizontal
cooperative membership structure.

Between 2006 and 2009 the organization advanced its development by administering
groups that were forming by Kentucky colonels for Kentucky colonels to share information
and come together with other like-minded individuals. Today the organization assists and
inspires other Kentucky colonels using the social media and the Internet to carry on what
we have started while elevating the distinction of one another.

cD
Our International Commissioners

Now as an international civil society organization (iCSO) we have eight officers including Col.
Nicholas Wright, Col. Luis Cruz Diaz, Col. David Younce, Col. Michael Sher, Col. Maria

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Veneke, Col. Jon Meier, Col. Joshua D. Wilkes, and Col. David Wright; all of them are
considered executive council members to carry our formation forward; most of them have
extensive experience in international affairs as goodwill ambassadors.

The title of "Kentucky Colonel" has come to be recognized by heads of state, at the United
Nations, by international non-governmental organizations, and among royalty through
these noteworthy individuals.

The organization's officers have extensive experience in human and civil rights or are cause
advocates for social justice issues including the environment, migration, animal welfare,
indigenous peoples, women and children. They are all coincidently Kentucky colonels,
mostly from Globcal International. Globcal for those who do not know it is a non-state
decentralized autonomous organization formed as a cooperative development association
that works with the United Nations, sovereign states and other international organizations,
it is operated by a team of over fifty goodwill ambassadors representing causes from
around the world. Many of them have become Kentucky colonels over the years based on
their deeds as members, some of them were already Kentucky colonels.

oH
Membership

To become a member in our international social fellowship a person must already behold a
commission as a Kentucky colonel and make a declaration of their deed for which they
received their title. There is currently no membership fee, all of our activities are conducted
online and based on voluntary contributions by active members and volunteers. Members
are admitted based solely on providing a photograph of or with their Kentucky Colonel
Commission.

In 2006 our errant group of Kentucky colonels began its journey in the social media on
Facebook evolving to our current presence to pull together interested members in an
association internationally to promote like-minded ideals, honor and values that are
common and well-understood among Kentucky colonels. In 2009 we had 500 of 700
members living outside Kentucky with nearly 30% living overseas in our social media circles,
today we are up to 4,100 members world-wide.

SS
International Registry of Kentucky Colonels

Our formation was developing a Registry Project that we announced in 2018 exclusively for
Kentucky colonels that wanted to be recognized in the international theater for their
achievement or use their title internationally as goodwill ambassadors. The registry (a
decentralized blockchain project) first became available in November 2019 for those who
were interested in receiving an additional credential and having their title recognized ina

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publicly searchable database. Due to budget setbacks and technical problems the project
was halted to be professionally redeveloped under a sister organization the Goodwill
Ambassador Foundation which is established offshore in the international theater. The
project will now formally get restarted in 2020.

The registry offers colonels a certificate of registration, a lifetime ID card and additional
Internet services with Google using a credential called IDaaS (Identity-as-a-Service). The
electronic online directory is searchable so Kentucky colonels can have their titles verified
by a third party wherever they present it.

The identity service will be compatible with Chrome, iPhone and Android it can be used with
any Mac, Windows or Linux based operating system to access special Google services
provided by our organization.

GD
Other Program Services

To better project the image of the Kentucky Colonel title and what it means to us, those who
register their title (letters patent) can also demonstrate themselves through a permanent
web page which we will develop and maintain on their behalf that is linked to our roster (or
can connect their personal website). This is an additional service which is provided to those
that live outside (or inside) the Commonwealth of Kentucky.

Gh
More About Us

The Kentucky Colonel Foundation, formerly Kentucky Colonels International is currently
organized and “now is incorporated" (as of January 30, 2020) as non-governmental and
non-state fellowship association (commission) made up of Kentucky colonels who have been
nominated and awarded the ‘Honorable’ title for a notable meritorious deed or participation
in a newsworthy event deserving the title. The organization "still in formation" that we are
developing involves member participation as stakeholders, therefore there may
eventually be a voluntary membership fee with accountability to our supporters for work
that we do with them. Currently there are no annual fees for social media participants or
online development provided by KCF to its members.

Membership fees or dues which may be requested (in the future) will be used to provide
membership and professional! public relations services for those who request them. To date
we have not needed to request membership fees nor have we charged anyone for the
services we provide online. Meanwhile there is a not a donation page here on our website
(pending a recent legal dispute). In the future membership fees to provide better social

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media and Internet services for our voluntary members will be presented. We will keep up
the hope that people will make donations and provide funding from time to time for the
services that we do provide.

oH
The Kentucky Colonel Foundation is not the HOKC

The Kentucky Colonel Foundation (KCF) is not the Honorable Order of Kentucky
Colonels (HOKC) nor is it a military brigade of Kentucky colonels; all of our members have
been duly recognized by the Honorable Order as their supporters or donors of their
independent charitable institution. The HOKC is a private non-profit organization and
registered charity in Kentucky, it is not a state operated institution or charter of the
state, its supporters have no voting powers, participation, or personal influence over the

organization or its charitable activities. As is stated in their Articles of Incorporation that are

on file in Frankfort, Kentucky; "The Honorable Order of Kentucky Colonels has no

members." The HOKC does however, offer membership cards to its honorary members and

donors as a token of appreciation and perk to encourage participation and show solidarity
with their charity, they hold several annual events to raise funds for their Good Works
program as well.

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Report abuse

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First Members

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Gc
Our First Members

Our organization was started originally in 1998 with the purpose of founding a true
membership society. In 2001 our efforts were abruptly halted based on the threat of being
sued by the Honorable Order of Kentucky Colonels which claimed that we were infringing
on their trademark. Again in 2020 they have made similar claims resulting in us changing
our name.

At the time we had reached nearly 100 members, however the record of all of their names
cannot be located, what we have found though was our membership roster on the *Internet
Archive which appeared in 2000." We also noticed that some of these members are still with
us today and have once again become active in our efforts.

GD
First Members *(1998-2001)

e Col. Paul R. Mobley

e Col. Jack Wolfenson

e Col. E. E. Gene Sampson

e Col. Mary Louise Sampson

e Col, Prof. C. E. Lindgren, D.Ed.
e Col. Samuel L. Ferguson

e Col. Gerald Weaver

e Col. Ernest Michael Prince

e Col. Dennis A. Q. Santos, Esq.
e Col. Patrick J. Santos, Esq.

e Col. Barry K. Flores, Esq.

e Col. Joseph S. Carbullido, Esq.
e Col. Phillip P.S. Pearson

e Col. David Paasch

e Col. Douglas D. Caplan

e Col. David J. Wright

e Col. John W. Corliss

e Col. Matthew A. Magrum

e Col. James R. Greenhill

e Col. William New

e Col. Larry S. Shields, PhD

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e Col. Reva Jean Taylor

e Col. Gene A. Bess

e Col. Roy T. Twombley

e Col. James Christian Selch
e Col. Dwayne Kent Hanson
e Col. Johnny M. Rich

e Col. Derek M. Wingfield

e Col. Timothy D. Hickman
e Col. Edgar A. Brown, Esq.
e Col. Gerri Hobdy

e Col. Roy R. Chance

e Col. Joshua Devan Wilkes, Esq.
e Col. Steven E. Germann

e Col. Hal Croft

e Col. Douglas Jackson

e Col. Robert D Bass, Sr.

e Col. Huiberto J. Oakes

e Col. Marvin D. Burns

e Col. William A. Donovan
e Col. Dana S. Hartwig

Report abuse

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Kentucky Colonel Foundation Officers

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HS

Commissioners

The commissioners are the functional organizing members, though they are subject to
change, together they serve initially as co-founders for the consolidation and development
of the organization. The initial commissioners were selected based on their training,
knowledge, experience, and contributions to this formation. They are all transparent, of high
moral character, and serve our commission honorably without remuneration.

Col. David J. Wright - Cited for his achievements as a conservationist with Ecology
Crossroads in 1996, when his tree program made the front page of the Louisville
Courier-Journal in April, garnering the attention of Judge Ray Corns and Governor Paul
Patton who commissioned him a Kentucky colonel, a title he takes in the highest-
regard and understanding.

Col. Joshua D. Wilkes - Lauded as a colonel in 1997 by Governor Paul Patton based on
his work as a folk artist with the Legendary Shack Shakers. Col. Wilkes takes the honor
seriously and uses the title as part of his name. Since becoming a Kentucky colonel he
has authored a book about Kentucky's music and a novel about folklore. Today he
continues to perform his stylistic themed music in Kentucky and abroad. In 2014 he
was selected to represent Paducah in a cultural exchange to Ireland and Scotland with
UNESCO.

Col David L. Younce - Earned the award for his dedicated work with non-profits while
working with teenagers to help them grow into mature young men and women. The
recognition came in 1999 while Col. Younce was working with the Civil Air Patrol he
also worked with police cadets and scouts in Oregon during the 70s and 80s,
becoming a Kentucky colonel came as a surprise, it is an honor he holds close to his
heart and lives up to everyday.

Col. Jon Meier - Commissioned by Governor Steve Beshear in 2008 after being
recognized for his service and leadership in the Boy Scouts of America when he
obtained the rank of Eagle Scout in Berea, Kentucky. Today the colonel lives and works
in Utah as a realtor and maintains the honorable title in high regard as a goodwill
ambassador for the Commonwealth.

Col. Luis Cruz Diaz - Became a Kentucky colonel.in recognition for his community
service and social media efforts as a consultant when he became the Secretary of
Globcal International. Col. Cruz Diaz lives in Puerto Rico and was commissioned by
Gov. Steve Beshear where he continues to work in his community and online with the
United Nations SDGs.

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e Col. Michael L. Sher - Indigenous artist and activist from Greater Toronto that was
noticed for designing and introducing the International Indigenous Unity Flag as a
symbol of unity and solidarity among indigenous people around the world. Since
becoming a Kentucky colonel his flag has reached tribal communities living in 6
continents.

e Col. Nicholas A. Wright - Awarded the commission of the Kentucky colonel by
Governor Steven Beshear based on winning a National Science Foundation (NSF)
Scholarship for advancing solar energy technology while attending Western Kentucky
University in Bowling Green.

e Col. Maria Veneke Ylikomi - From Sweden, Col. Veneke was bestowed the honor for
her work in Cambodia as a volunteer and authorship of a book on the four big cats.
She is a researcher, writer, peace advocate, and goodwill ambassador in every sense.
She travels frequently to places around the world and talks about Kentucky to others
when she does.

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Frequently Asked Questions (FAQ)

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Questions and Answers about Kentucky Colonels

Both the public and Kentucky colonels alike have many questions about Kentucky colonels
and about the Order of the Kentucky Colonel. Some questions are considered Frequently
Asked Questions (FAQ) so we have developed this FAQ Page to help answer some of them.

State Seal of the Commonwealth of Kentucky

&)
How do you become a Kentucky Colonel?

“w
Anyone over the age of 18 can become a Kentucky colonel. Traditionally only another
Kentucky colonel can nominate someone to become a Kentucky colonel or they can be
recognized and selected by the Governor of the Commonwealth of Kentucky. The best way
to become a Kentucky Colonel is to know one who is willing to nominate you.

e
Can you apply to become a Kentucky Colonel?

“A
No, a person cannot apply to become a Kentucky colonel. Kentucky colonelcy is based on
being nominated to become recognized by the seated Governor of Kentucky or being
recognized by the governor directly.

Gy
Do you have to be from Kentucky to become a Kentucky Colonel?

“a
No, Kentucky colonels can be from anywhere in the world. Currently there are more than
100,000 Kentucky colonels living in more than 70 countries around the world.

The Governor of the Commonwealth of Kentucky can recognize anyone living anywhere in
the world based on their deeds, noteworthy actions, or their accomplishments. Generally
the governor only recognizes those who either have or who demonstrate their deeds or

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actions in connection with the state, however as an honorary award the governor frequently
has been known to recognize those who have the potential to serve the needs of the state
through their recognition.

cS
What does a Kentucky Colonel actually do?

“~
Kentucky colonels are officially the goodwill ambassadors of the Commonwealth of
Kentucky, they are commissioned by the governor as civilian offers who are recognized as
the governor's aide-in-camp. Their unnamed and unspecified task is to promote the cultural
and traditional values of the Commonwealth of Kentucky in their everyday lives.

Although Kentucky colonels receive ‘letters patent’ it is a traditional award of merit and an
honorable title that is bestowed by the head-of-state to recognize the individual to whom it
is given based on their deeds, accomplishments, noteworthiness, or contributions to the
community, state or nation in which they live.

ce
Who was the first Kentucky colonel?

“a
There is some debate as to who the first Kentucky colonel actually was. According to
Wikipedia it was Charles Stewart Todd, who was commissioned unilaterally by Governor
Isaac Shelby in 1815 as an aide-de-camp on the Governor's Staff with the rank and grade of
colonel. Others say it was Richard M. Johnson who was commissioned by the Kentucky
Legislature in 1813, almost 2 years earlier. Prior to that when 'Kentucke' was still a territory
prior to its statehood there was the great Daniel Boone who was commissioned in 1780
when the state was made up of three Virginia counties. So if someone asks who the first
Kentucky colonel was Col. Daniel Boone is the best answer.

it should also be understood that the honorable title of the Kentucky Colonel did not
emerge as a civilian award until 1885 under Governor William O'Connell Bradley. As we
understand when he was very young when he tried to fight in the Civil War and was
removed by his father (twice). Both times, his father removed him from the service because
of his young age. Despite having only this few months of service to his credit, he was
referred to as "Colonel Bradley" by many for the rest of his life. He used and carried as his
moniker "Colonel" to become a page in the Kentucky House of Representatives and gained
enough experience to get an honorary law degree from Kentucky University. By the time he
became the governor, he knew many colonels (a title of respect in the South)as it was

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understood in the day that applying the title was a form of address to recognize
distinguished and well-respected gentlemen. In his writings he uses it hundreds of times to
confer respect to many of his friends and law colleagues.

We could not find any text based citations online of his commissions, they were probably
done in person as a gesture of recognition. In 1890 a book was written about Kentucky
colonels by Opie Read entitled, A Kentucky Colonel, a book that was very popular in its day.
In 1920 a film was made based on the book.

ED
How many organizations are there for Kentucky colonels?

“~
There are a number of benevolent, civil, charitable, fraternal and membership associations
or organizations that have been established around the world which base their membership
on a person being recognized as a Kentucky Colonel.

e In Kentucky there are 5 organizations that coordinate local activities.
e World-wide there are 12 or more organizations that are based on a person being
recognized by the Governor of Kentucky.

The largest and most dominant of these organizations has been "The Honorable Order of
Kentucky Colonels" which is a charitable 501(c)(3) organization which was started in 1932
and was consolidated as a Kentucky corporation in 1957. It is dedicated to funding good
works throughout the state of Kentucky and holds several fundraising events per year. They
implicitly offer free honorary membership to those who are commissioned and donate to
their Good Works Fund each year. The organization is operated by a Board of Trustees
which they call their Generals. The organization is community oriented and helps Kentucky
colonels find volunteer opportunities locally.

The second largest organization the "Kentucky Colonel Foundation" is a fraternal
membership and international civil society organization. Which is now under reformation
and development which was started originally in 1998. The organization is decentralized
online and developed to include all participants no matter where they live in the world. It is
the same organization that dominates Facebook and uses the social media to provoke
activism.

Cc:
How can a Kentucky Colonel use their "Honorable" title?

~
In the formal sense of protocol, a Kentucky colonel is always addressed or referred to with

the title "Honorable" before his or her name inside the state when it is known; outside the
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state they may use the full title "Kentucky Colonel" before his or her name. Most often
among friends and colleagues this is shortened to serve as a moniker or nickname to just
“Colonel”.

Since the honorable title is a customary and traditional one it is often used to defer respect
and honor, however it should not be used when presenting oneself or another Kentucky
colonel as "Colonel" or "Col." to the United States Government, in another state or in
another country because it could be confused with the proper official title of a military
colonel. The title may be expressed in other places outside of the realm of Kentucky as
"Ambassador" or "Kentucky Colonel" as a formal title. The style can also be represented as a
position in representation of the state as an aide-in-camp following a person's proper name
as "Kentucky Colonel", as "Goodwill Ambassador", or most precisely “Ambassador of
Goodwill for the Commonwealth of Kentucky".

GD
What are the duties of a Kentucky Colonel?

~
As ameritory award and honorable title there are no dutiful obligations connected with
being recognized as a Kentucky Colonel. Those who are recognized however are expected to
be outstanding citizens and public figures, respectful of others, and law abiding.

Kentucky colonels are not paid a salary by the state, however many individuals and public
figures including actors, athletes, musicians , professionals, and even diplomats who
become Kentucky colonels have been known to present themselves as paid speakers
promoting Kentucky history, values, traditions, and customs in public and private venues.

It is also a commission that can be rescinded or revoked based on a person's conduct in
society or if it is gained by deception. There are few examples of this occurring, however is
not very frequent, as most of those who are recognized truly deserve to be distinguished
and carry the recognition with them throughout their lives. There is a story of how a news
reporter once got a commission for a dog he named Waldo Wrecker, his commission was of
course revoked when it was discovered he was not a person.

Was Colonel Saunders really a Kentucky Colonel?

“~
Yes, Harland David Sanders received the commission of the Kentucky Colonel in 1935. He is
also the most famous of all the Kentucky colonels and decided to use the title as his
moniker (nickname) when he opened his restaurant chains. The style he introduced of an all
white suit was his own, modeled after the ideal of the southern gentleman with a ribbon tie
introduced by Opie Read.

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eS
How many Kentucky colonels are there?

NS

There are currently over 100,000 Kentucky colonels, living in more than 70 countries around
the world.

ce
What is the difference between the Honorable Order of Kentucky
Colonels and the Order of the Kentucky Colonel?

“~
This can be best explained on our page on the topic called Order of the Kentucky Colonel,
but essentially the “Order of the Kentucky Colonel" was established between 1885-1890 to
recognize those awarded with the commission of the Kentucky Colonel, it led to civil
societies and clubs being formed around the turn of the 19th century. The "Honorable
Order of Kentucky Colonels" is a charitable organization that was chartered by Governor
Sampson in 1931 which continues to exist today.

cS
Other Questions
These are some of the most frequently asked questions that are posed by the public and by

Kentucky colonels themselves about the Kentucky Colonel Commission. If you have other
questions you are welcome to write to us and we will do our best answer them.

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Report abuse

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History

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Ss
Culture, Tradition, and Customs

History, culture, traditions, customs, and storytelling are all relatively important elements of
being a Kentucky colonel. The ideal of receiving the commission of a Kentucky colonel
encompasses all of these ideals at both a personal and state level contributing to the sense
of pride one feels upon receiving the award.

We thought it would be nice that we define our understanding for you here, because they
are important terms that we use throughout our website. To read about our history please
see our "About Us" section or to read about the history of Kentucky colonels other parts of
this section of the website.

ee
Ideals Defined

e History is the past as it is described in written documents, and the study thereof.
"History" is an umbrella term that relates to past events as well as the memory,
discovery, collection, organization, presentation, and interpretation of information
about these events. Scholars who write about history are called historians. Kentucky
colonels are responsible for understanding the facts to the best of their knowledge
regarding the rich history of the state.

e Culture is an umbrella term which encompasses the social behavior and norms found
in human societies, as well as the knowledge, beliefs, arts, laws, customs, capabilities
and habits of the individuals in these groups. People acquire culture through the
learning processes of enculturation and socialization, which is shown by the diversity
of cultures across societies. Culture serves as a guideline for behavior, dress,
language, and demeanor.

e Traditions are beliefs or behaviors (folk customs) passed down within a group or
society with symbolic meaning or special significance with origins in the past. A
component of folklore, common examples include holidays or impractical but socially
meaningful clothes, but the idea has also been applied to social norms such as
greetings. Traditions can persist and evolve for thousands of years—the word tradition
itself derives from the Latin tradere literally meaning to transmit, to hand over, to give
for safekeeping. While it is commonly assumed that traditions have ancient history,
many traditions have been invented on purpose, whether that be cultural, over short
periods of time.

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e Customs or social norms are regarded as collective representations of acceptable
group conduct as well as individual perceptions of particular group conduct. They can
be viewed as cultural products (including values, customs, and traditions) which
represent individuals’ basic knowledge of what others do and think that they should
do. From a sociological perspective, social norms are informal understandings that
govern the behavior of members of a society. A legal custom is the established
pattern of behavior that can be objectively verified within a particular social setting. A
claim can be carried out in defense of "what has always been done and accepted by
law". Related is the idea of prescription; a right enjoyed through long custom rather
than positive law.

e Storytelling describes the social and cultural activity of sharing history and stories
sometimes with improvisation, theatrics, or embellishment. Every culture has its own
stories or narratives, which are shared as a means of entertainment, education,
cultural preservation or instilling moral values. Crucial elements of stories and
storytelling include plot, characters and narrative point of view.

Kentucky colonels are well-known to be reliable storytellers and use history frequently to
enhance their ideals and perspectives as goodwill ambassadors to promote, emulate, and
reinforce traditions and customs that foster positive social values of the state.

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First Kentucky Colonels

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Go
The First Kentucky Colonel

This is a subject of debate and depends on your actual perception and interpretation of the
historical record.

G>
Col. Daniel Boone

We tend to believe "the very first colonel" was Daniel Boone who was commissioned by the

‘Governor of Virginia. Boone perhaps the most famous Kentuckian, is known as the first
settler of Kentucky. He became a Lieutenant Colonel of the Fayette County Militia in 1780,
when Kentucky was a named territory made up of three Virginia counties.

John Filson's “The Adventures of Colonel Daniel Boon", part of his book The Discovery,
Settlement and Present State of Kentucke. Was first published in 1784, Filson's book was
primarily intended to popularize Kentucky to immigrants. This in our opinion had much to
do with the founding and establishment of the Commonwealth, following its publication
immigrants went to Kentucky making it the great state that it has become today.

Ge
Other Perspectives

The popular account of the Commonwealth and the HOKC credits Governor Isaac Shelby
with making the first Kentucky Colonel commission in 1813 to Charles Stewart Todd as his
personal aide-in-camp, after the state's militia was dissolved. According to our research
the actual date was in March of 1815, not in 1813, which contradicts the Honorable Order of
Kentucky Colonels documentation and claims, as well as that of the Commonwealth which
has given them their consensus for many years. Their accounts also fail to mention that Col.
Charles Todd went on to marry the Governor Shelby's daughter and have 12 children with
her. Whether the documentation leading to the popular interpretation was an error or a
purposeful miscount will probably remain a mystery.

Despite this the state's militia was reformed during the Civil War to protect itself and the
uniform that the Kentucky Colonels Command in Toronto recreated and use today for
ceremonies was actually worn through the 1880s.

Many debate that the modern tradition of the Kentucky colonel did not truly emerge until in

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the 1880s when the state governor began naming Kentucky citizens as colonels as an
honorary and meritory recognition (award) for their civilian deeds. Governor William
O'Connell Bradley commissioned the first honorary Kentucky colonels as a meritory award
bestowed upon citizens for their individual contributions to the state, good deeds, and
noteworthy actions.

SS
The First (Official) Kentucky Colonel

According to Miles Smith, PhD, in a brilliant doctoral research work in 2006, The Kentucky
Colonel: Richard M. Johnson and the Rise of Western Democracy, the first Kentucky Colonel
that was designated by the state emerged two years prior to Col. Charles Stewart Todd's
commission in 1815.

In May of 1813, the Kentucky State Legislature commissioned Richard M. Johnson who
had a "disregard for legalism at the state and federal level, and his reliance on political will
emerged in his recruiting drive — he answered their call, quickly raising 600 men. Of these,
140 made their homes in Scott County." His paper also refers to Governor Isaac Shelby as
Col. Richard M. Johnson's ostensible commander-in-chief, as Governor Shelby did not
condone Col. Johnson's commission. This may explain for the miscounting of the state's
historical record.

Later Richard Mentor Johnson became the ninth vice president of the United States from
1837 to 1841. He is the only vice president elected by the United States Senate under the
provisions of the Twelfth Amendment. Johnson also represented Kentucky in the U.S. House
of Representatives and Senate; he began and ended his political career in the Kentucky
House of Representatives.

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Kentucky Colonels’ News

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News about Kentucky Colonels

Before we had the Internet community and regional newspapers were more predominant
and Kentucky colonels were noted more frequently and better-known for their local
accomplishments. Today it is has become less common for newspapers to write about the
positive things in life and the accomplishments of our neighbors. To better promote
positivity in society we have established a news service which disseminates and recirculates
some of the articles that we can find and develop new articles about the accomplishments,
deeds and recognition of Kentucky colonels from around the world.

We are working now to extend this service to provide public relations on a broader scale
recognizing fellow colonels. See our blog and publicity section for more information.

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News Feed

This is a RSS/Atom news feed that presents selected news articles about Kentucky colonels
which have made it to the international news, the stories are extracted using Google News
Search and converted using FeedBurner. The feed displays the top articles of prominent
sources that use Google News.

You can subscribe to this RSS feed using a feed reader program using your PC, laptop, tablet
or smartphone. Subscribe here!

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KCI Blog

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Kentucky Colonels International Blog
Members and news readers can access our blog using their web browser online or by

subscribing to our Feed Burner Feed which renders as RSS, it is also available using you
mobile device or can be sent directly by email when we publish new articles by Blogger.

cs
Member Provided Social Media Content

The Kentucky Colonels International Blog is a website used to promote and network
news articles that are presented by members for development and integration into the
historical record and to present our works in a concise written format for republication and
sharing in the social media. The service uses Blogger one of Google's best and most active
publishing services.

The blog features our own news releases, republished popular news articles, and articles
that are found online which are condensed or rewritten for representation to our readers.
The blog also connects and links members that have been recognized following the
distinction of being made a Kentucky colonel that are actively promoting and serving the
Commonwealth of Kentucky as its Goodwill Ambassadors.

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Public Relations

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Publicity for Kentucky Colonels

As aservice to our members who support our organization with donations our foundation
offers online public relations and promotions of their events and projects where they
represent themselves as Kentucky colonels. The content we develop can be used in the
social media, online in their websites, and circulated to newspapers or other media
providers in their region, nationally or internationally by email and facsimile.

To create a higher profile for our organization that is more broadly recognized on an
international scale and bring prominence to the commission of the Kentucky Colonel title
our organization has developed an ad hoc decentralized public relations initiative which
connects the media with our officers. Currently the program is experimental and not very
well funded, we are confident however that with some success the program will gain
notoriety.

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News Release Guidelines

We have guidelines for members to be more successful in promoting themselves as
Kentucky colonels when they initially receive their commissions and when they are
participating in events or activities that they organize.

The information and consulting we provide is only available to members who are officers or
by making contributions. If you are a member of a local chapter contact your representative
officer for additional details, or if you need our help we will be glad to do do using email.

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Order of the Kentucky Colonel

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Understanding the Order

The prestigious Order of the Kentucky Colonel is the oldest, highest distinguished order of
merit and recognition that can be awarded to a civilian in the United States, it has been
awarded by the Commonwealth of Kentucky since 1813. Today it is awarded to noteworthy
individuals that are nominated by holders of the "honorable" title. To be designated to the
order a person must demonstrate strong moral character and be noteworthy for having
accomplished a good deed or service to community that deserves the recognition of the
Governor of Kentucky.

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Realizing the Commission

Only the serving Governor or the Secretary of State of the Commonwealth of Kentucky can
designate who will be recognized based on nominations made by other Kentucky colonels
that were ordered (commissioned) already, his/her own personal recognition of an
individual for their noteworthiness or based on letters written by Kentucky citizens or
government officials that warrant attention and recognition.

Once a person is distinguished with an order it is for "life" as a recognition in full regard. An
"Order" is not an organization, but a "title" under a "commission" as is the case for the
Order of the Kentucky Colonel.

Wikipedia says: "An order is a visible honor awarded by a sovereign state, monarch,
dynastic royal house or organization to a person, typically in recognition of individual merit,
that often comes with distinctive insignia such as collars, medals, badges, and sashes worn
by recipients.

Modern honor systems of state orders and dynastic orders emerged from the culture of
orders of chivalry of the Middle Ages, which in turn emerged from the Catholic religious
orders."

In another section it says: "A state order, or national order, is an order bestowed by a
sovereign nation or state as part of an honors and recognition system. These orders,
conferred for the merit of the recipient(s), are typically categorized as either orders of
chivalry or orders of merit."

The Order of the Kentucky Colonel (Commission or Title) should not be confused with The
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Honorable Order of Kentucky Colonels, Inc. (est. 1932), which is a private non-profit
charitable organization focused on developing their "Good Works Fund" in Kentucky; their
organization operates a donorship program, raises funds for charity, and sell gifts
(memorabilia) from their website to those who have been commissioned with the "Order of
the Kentucky Colonel" whom are all invited to participate in the activities they promote.

Gc
About the Order

The Order of the Kentucky Colonel is one of the greatest accolades of honor and
distinction in the United States, it holds a rich history of evolution and tradition which
stands apart from all others. It began as a special rank in the Kentucky Militia, evolving to
the ideal of a Southern gentleman, finally to become the highest civilian honor resulting in
the designation of "goodwill ambassador" for the Commonwealth. The order is often
misunderstood today as a military order; whereas in reality is a state order, an order of
merit, and a civil order.

Recipients who receive and accept the Order of the Kentucky Colonel are expected to live
up to the honorary recognition reciprocally by being a model citizen that is considerate, fair,
generous, kind, and understanding. Those distinguished are entitled to use “Honorable” or
"Colonel" before their birth name in civil society and daily life; through the issuance of
letters patent they can legally represent the state as its official goodwill ambassadors and .
are permitted to perpetuate the order by nominating others that they recognize for their
deeds and noteworthy accomplishments.

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Entitlements of Letters Patent

Legitimately because of the wording and presentation the certificate is a form of "letters
patent" that can be presented diplomatically to another head of state in representation of
the Commonwealth of Kentucky. Symbolically it identifies the "Colonel" as an "Aide-in-
Camp" to the Kentucky Militia that has been commissioned as an honorary lifetime
representative of the Commonwealth acting as a “goodwill ambassador" from the state,
designated under one of its Governors.

Letters patent is not diplomatic exequatur, but it is permission to represent Kentucky
customs, traditions and values through the honor of a colonelship commission as a goodwill
ambassador. Most persons sent by the Governor outside the state are eligible to become
Kentucky colonels before or after they are dispatched.

Other states offer awards, honors and titles for their model citizens and for heroic acts as
well, it is debatable as to whether they can all be considered to be "letters patent" unless
they are employed as such in law, many are not issued as an order understanding a

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commission, but as a single award of merit.

Most of the awards given by other states and most nations are given similarly as orders of
merit, some military orders and others are official state orders issued by the head of state.

The Order of the Kentucky Colonel represents a civil award and decoration, it is not a
chivalric, dynastic, fraternal or religious order. People are not named to become a
Kentucky Colonel as a novelty, but as an honor in recognition of a notable deed; however
there is some fun that may found in the ideal of being a Kentucky colonel among friends
relative to the Southern gentleman style and the world-famous Col. David Harland Sanders'
(founder of KFC) in his expression of a Kentucky Colonel, who became one and used the title
120 years after it was established.

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Resources

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Resource Listing
There are a great number of resources available to Kentucky colonels who are interested in

extending their honorable title through community involvement and benevolent societies
around the world that are established by other colonels.

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Commonwealth of Kentucky

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About Kentucky

When talking about the Commonwealth of Kentucky a person cannot help but to wonder
about its history and the people who made it the prosperous and famous place it has
become today. As a Kentucky Colonel it is your duty to protect its image, promote it, and
show respect for its traditions and customs in every way to give it the dignity and prestige
that it deserves.

Today, Kentucky is best-known for its state parks, horse racing, bourbon, moonshine, coal,
automobile manufacturing, tobacco, bluegrass music, college basketball, fried chicken, and
of course the Kentucky colonel. -Wikipedia

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State Parks

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Role of the Kentucky Colonel

The Kentucky colonel has a modern role in today's society as a commissioned civil officer
and goodwill ambassador. Inasmuch, he or she is both officially and unofficially
responsible for a great number of obligations if they use their title in a legal sense and to
their advantage. The duties of Kentucky colonels are easy to manage and involve basic
knowledge which we hope to be able to provide here as your guide.

Kentucky colonels present the Commonwealth with charm, pride, and integrity. We like to
view ourselves as its official goodwill ambassadors, it is a role that we have fulfilled since

people began coming to Kentucky starting with the legendary Daniel Boone who was the
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territory's first settler and leader. Boone also became known as its "first colonel" more than
a decade before the territory became a state when he was commissioned in 1780 to the
Fayette County Militia by the Governor of Virginia.

As the story goes the indigenous Shawnee of Kentucky only trusted Daniel Boone and
adopted him as an honorary member of their tribe, which allowed him to serve uniquely as
the frontier's ambassador.

"| returned home to my family, with a determination to bring them as soon as possible to
live in Kentucky, which | esteemed a second paradise, at the risk of my life and fortune." -
Daniel Boone (1773)

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Boone's ritual adoption by the Shawnees, from Life & Times of Col. Daniel Boone, by Cecil B. Hartley (1859)

Ge
Promoting Kentucky

To promote Kentucky is to know Kentucky, its people, its customs, and what it has to offer to
others such as tourism, attractions and economic opportunities. To better know Kentucky
we recommend using the Internet to start by learning the information about Kentucky on
Wikipedia, there is a very good top-rated article there about the Commonwealth.

There are also several other texts which all good Kentucky colonels should have or at least
read one of them is the Kentucky Encyclopedia by John Kleber. For a more historic view of
Kentucky you can also review the Encyclopedia of Kentucky by Nancy Capace.

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“UNBRIDLED SPIRIT

>
Promoting Tourism in Kentucky

One of the main attractions of the Bluegrass State is its tourism opportunities, it is also the
best way to directly benefit Kentuckians and the state. Today Tourism ranks as the third
largest industry in Kentucky, it is among education, health care, and manufacturing. It is also
the number one source of income from out of state investment.

According to the Lane Report in 2019, "Using the Tourism Economics model, the economic
impact of the tourism industry in Kentucky went from $10.9 billion in 2017 to $11.2 billion
in 2018, generating more than 94,500 jobs and $787 million in state and local taxes." Today
tourism is in excess of 13 billion dollars for 2019.

There are several really good websites you can learn about what Kentucky as to offer in the
area of tourism.

If you are a Kentucky colonel that is also hospitality professional or have an attraction you
would like to add or update you can do that at the Kentucky Tourism Industry Portal.

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Promoting Economic Development

Another great way to function well as a Kentucky colonel is to promote doing business in the
state, starting a small business, or purchasing goods that are produced in Kentucky.
Becoming a Kentucky colonel gives a person ample authority with their letters patent to
perform any of these functions.

You can learn more about Kentucky's economic profile and the industries that thrive in the
state.

Ge
Promoting History and Culture

Promoting history, society and cultural values are very important aspects to being a
goodwill ambassador, by understanding them and knowing about the key people and ideals
that make the state what it is can be very engaging and lead to very friendly conversations.
Here on our website we offer quite a few links to reference materials and lists of resources
and ideals. Some of them are listed here:

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Famous Kentuckians

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List of Famous Kentuckians

This list of Famous Kentuckians appeared on our website beginning in 1998, currently
it is a bit out of date, some names can be added and some of the people listed here
are now deceased. Nonetheless it was a great research project and well-done in an
objective manner.

Our website author could not determine which of these people were recognized as
Kentucky colonels at the time so we have begun a new list of those who were
recognized based on information identified online. This list however is equally
important because being a Kentucky colonel involves knowing about Kentucky as
much as it does about being a colonel, moreover there are many famous people who
are Kentucky colonels that are not Kentuckians.

e Alben W. Barkley (1877-1956) U.S. vice president under Harry Truman, 1949-53.

e Daniel Carter Beard * (1850-1941) "Father of Scouting"; founded Boy Pioneers, 1905;
founded Boy Scouts of America, 1910.

e George Barry Bingham, Sr. (1906-1988) Head of a newspaper and broadcasting
empire that set the standard for ethical journalism; under his leadership the Louisville
Courier-Journal won seven Pulitzer Prizes and was ranked in the top 10 papers in the
country; he served on the board that awarded Pulitzer Prizes and chaired the
International Press Institute.

e James Gillespie Birney (1792-1857) Executive secretary of the American Anti-Slavery
Society, 1837; vice-president of the World Anti-Slavery Convention in London, 1840;
presidential candidate of the Liberty Party, 1840 and 1844.

e Montgomery Blair (1813-1883) Chief defense counsel in the Dred Scott case;
postmaster general under Abraham Lincoln, responsible for innovations such as
money orders, postage stamps and free rural delivery.

e Louis Brandeis (1856-1941) U.S. Supreme Court justice, 1916-39.

e John Cabell Breckinridge (1821-1875) U.S. vice president under James Buchanan,
1857-61.

e Madeline McDowell Breckinridge (1872-1920) Reformist; national leader in women's
suffrage movement.

e Mary Breckinridge (1881-1965) Organized the Frontier Nursing Service in eastern
Kentucky, which became a model for similar programs throughout the world.

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Sophonisba Preston Breckinridge (1866-1948) Lawyer, pioneer in social work, first
woman admitted to the Kentucky bar, first woman to receive a PhD in political science,
credited with making social work a profession.

Belle Brezing (1860-1940) Well-known madam; thought to be the prototype for Belle
Watling in "Gone With the Wind."

Benjamin Helm Bristow (1832-1896) First U.S. solicitor general, 1870; secretary of the
treasury, 1874-76; second president of the American Bar Association.

Edgar Cayce (1877-1945) "The Sleeping Prophet," psychic counselor, author, founder
of the Association for Research and Enlightenment.

Cassius Marcellus Clay (1810-1903) Ambassador to Russia; abolitionist; a founder of
the Republican Party; known as "The Lion of White Hall."

Henry Clay * (1777-1852) U.S. senator; speaker of the U.S. House of Representatives;
U.S. secretary of state; known as the "Great Compromiser."

Laura Clay (1849-1941) Women's rights advocate; organized and led the Kentucky
Equal Rights Association for 24 years.

Martha Layne Collins (1936- ) First female Kentucky governor, 1983-87.

John Sherman Cooper (1901-1991) U.S, senator; ambassador to India and East
Germany; member of the Warren Commission.

Emma Guy Cromwell (1869-1952) First woman in Kentucky to be elected to statewide
office, 1886.

Jefferson Davis (1808-1889) Only president of the Confederate States of America,
1861-65.

Mary Desha (1850-1911) Co-founded the Daughters of the American Revolution.
Mary Elliott Flanery (1867-1933) First woman to serve in a Southern state legislature,
1921.

Nancy Green (1834-1923) Known to the world as "Aunt Jemima,” the former slave
became the advertising world's first living trademark, beginning at the World's
Columbian Exposition in Chicago in 1893.

Larry Claxton Flynt (1942- ) Pornographer, nightclub owner and magazine publisher
who has tested the limits of free speech in America, winning in the Supreme Court,
and thereby strengthening the First Amendment.

John Marshall Harlan (1833-1911) U.S. Supreme Court justice, 1877-1911.

Margaret Ingels (1892-1971) First woman in the U.S. to earna mechanical
engineering degree.

Richard M. Johnson (1780-1850) U.S. vice president under Martin Van Buren, 1837-41.
Albert Sidney Johnston (1803-1862) Confederate general; his death in the Battle of
Shiloh was a severe blow to Confederate hopes of winning the war.

John "Casey" Jones (1864-1900) Railroad engineer immortalized in song.

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e Arthur Krock (1886-1974) Newspaper reporter and editor; four-time winner of the
Pulitzer Prize; head of the New York Times Washington bureau from 1932-1965;
credited with transforming the structure of newspaper bureaus, a reorganization
copied by the radio and television industries.

e Abraham Lincoln (1809-1865) Sixteenth U.S. president, 1861-65.

e Mary Todd Lincoln (1818-1882) Wife of Abraham Lincoln.

e McCoys of the Hatfield-McCoy feud, resolved in 1888.

e John Hunt Morgan * (1825-1864) Confederate general; known as "The Thunderbolt of
the Confederacy."

e Carry A. Nation (1846-1911) Temperance crusader; known as "the lady with a
hatchet."

e Katherine Pettit (1868-1936) Began the first rural social settlement work ever
undertaken in the U.S., founded Hindman Settlement School and Pine Mountain
Settlement School.

e Georgia Powers (1923- ) Kentucky's first female African-American state senator,
marched with Martin Luther King, addressed the dramatic 1968 Democratic National
Convention in Chicago, chaired Jesse Jackson's 1984 and '88 Kentucky presidential
campaigns.

e Stanley Forman Reed (1884-1980) U.S. Supreme Court Justice for 19 years; cast the
deciding vote on Brown vs. Board of Education, the 1954 case that struck down the
notion that separate schools for different races could still offer equal educational
opportunities.

e Colonel Harland Sanders * (1890-1980) Kentucky Fried Chicken founder.

e John Thomas Scopes (1900-1970) Defendant in famous the "Monkey Trial" for
violating a Tennessee law against teaching evolution.

e Franklin R. Sousley, PFC (1925-1945) Helped raise the U.S. flag at lwo-Jima;
immortalized in the most famous war photograph in history.

e Elvis J. Stahr Jr. (1916-1998) University of Kentucky College of Law Dean 1948-56,
West Virginia University President 1958-61, Secretary of the Army 1961-62, Indiana
University President 1962-68, National Audubon Society President 1968-79,

e Adlai Stevenson (1835-1914) U.S. vice president under Grover Cleveland, 1893-97.

e Cora Wilson Stewart (1875-1958) Educator whose school for adult education became
a model throughout the world.

e Zachary Taylor * (1784-1850) Mexican War hero; twelfth U.S. president, 1849-50.

e Frederick Moore Vinson (1890-1953) U.S. Supreme Court chief justice, 1946-53.

e Charles A. Young (1864-1922) Third black graduate of the U.S. Military Academy, the
nation's highest-ranking black soldier in World War I, and the first black to serve as a
U.S. military attaché.

e Whitney M. Young, Jr. (1921-1971) Civil rights leader; executive director of the
National Urban League, 1961-71; advisor to Presidents Johnson and. Nixon; awarded
Medal of Freedom, 1969.
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e Judge Roy Bean (1825-1903) Trader; bartender; infamous “hanging judge" of Langtry,
Texas.

e Daniel Boone * (1734-1820) Hunted and explored Kentucky, 1767-74; cleared the
Wilderness Road and founded Fort Boonesborough, 1775.

e James Bowie (1796-1836) Texas Ranger who died at the Alamo; designed the Bowie
knife.

e Kit Carson (1809-1868) Indian agent; trapper; scout.

e George Rogers Clark * (1752-1818) American Revolution frontier general and
explorer; secured the Northwest Territory for the U.S.; founder of Louisville, 1778.

e William Clark * (1770-1838) U.S. Army lieutenant; co-leader of the Lewis and Clark
Expedition, 1803-06; Indian agent for the Louisiana Territory, 1807-13; governor of the
Missouri Territory, 1813-1821.

e Floyd Collins (1887-1925) Explorer whose entrapment and death in a cave became
one of the most widely reported stories of the 1920s.

e James Harrod * (1742-1793) Frontiersman; founder of Harrodsburg, first permanent
settlement west of the Alleghenies, 1774.

e Simon Kenton * (1755-1836) Frontier explorer and soldier; scout for Daniel Boone
and George Rogers Clark.

e Dr. Thomas Walker * (1715-1794) Surveyor; led the first documented expedition
through the Cumberland Gap, 1750.

e John Colgan (1840-1916) Developed a sweetened chewing gum in 1879, Colgan's Taffy
Tolu, which became popular in the U.S., Canada and Australia after its introduction at
the 1893 Chicago World's Fair.

e Thomas D. Dillehay (1948- ) Archaeologist; University of Kentucky professor who
disproved the century-old theory of the first Americans by excavating a site near
Monte Verde, Chile that shows hunter-gatherers lived there 1,000 years before the
Clovis people; now the questions are again, who were the first Americans, and how
and when did they get here?

e Frank Talbert Etscorn, Ill (1945- ) Behavioral psychologist, discovered the nicotine
patch in 1980, helping millions of people quit smoking.

e John Fitch * (1743-1798) Conceived the idea of a steamboat in 1785; received first
patent, 1791.

e Frederick McKinley Jones (1893-1961) Invented the first process that enabled movie
projectors to play back recorded sound, making talking pictures possible; invented
automatic refrigeration units for trucks, trains, and ships allowing the shipment of
perishable goods; invented portable refrigeration units for military camps for storing
blood; invented a portable X-ray machine.

e William Kelly * (1811-1888) Discovered the Bessamer process of steel-making, 1846.

e William Lipscomb * (1919- ) Nobel prize winner for research on the chemical bonding
of atoms, 1976.
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e Ephraim McDowell * (1771-1830) Surgeon; founder of modern abdominal surgery;
performed first successful surgical removal of an ovarian tumor, 1809.

e Garrett A. Morgan (1877-1963) Patented the world's first gas mask, 1912; invented
the first automatic, tri-color traffic signal, 1923.

e Thomas Hunt Morgan (1866-1945) Biologist; Nobel Prize winner in medicine for
genetic research, 1933.

e Florence Peebles (1874-1956) Biologist, known for her work on how external
influences affect the development of living tissue.

e Matthew B. Sellers * (1869-1932) Aviation pioneer; among first to experiment with
gliding and power flight.

e Phillip A. Sharp (1944- ) Nobel Prize winner for the discovery of split genes and for
advancing research on cancer and hereditary diseases, 1993.

e Nathan B. Stubblefield (1860-1928) Successfully demonstrated wireless voice
transmission (radio), 1892.

e John T. Thompson (1860-1940) Invented the "tommy gun," the world's first
submachine gun, 1920.

e Cornelia B. Wilbur (1909-92) University of Kentucky professor of psychiatry; expert on
multiple personality disorders; doctor of "Sybil," the subject of the 1970s best-selling
book about the bizarre case of a woman plagued with multiple personalities.

e John James Audubon * (1785-1851) Ornithologist; artist; began his work on "Birds of
America" in Kentucky.

e Frank Duveneck (1848-1919) Painter; sculptor; educator.

e Henry L. Faulkner (1924-1981) Unconventional artist and poet.

e Edward Franklin Fisk * (1886-1944) Portrait and landscape artist.

e Fontaine Fox (1884-1964) Originated the nationally syndicated cartoon "The
Toonerville Trolley."

e Ed Hamilton (1947- ) Sculptor; "The Spirit of Freedom" at the African American Civil
War Memorial in Washington, D.C. (1998); "Amistad Memorial" (1992) in New Haven,

' Connecticut; "Joe Lewis" (1987) in Cobo Hall, Detroit, Michigan.

e Joel Tanner Hart (1810-1877) Sculptor.

e Harlan Hubbard (1900-1988) Writer and painter, known for his rejection of industrial
development and the consumer culture.

e Matthew Harris Jouett (1787-1827) Portrait artist.

e Shirley Ardell Mason * (1923-98) Watercolorist; best known as "Sybil," the subject of
the 1970s best-selling book about a woman with multiple personalities.

e Ralph Eugene Meatyard * (1920-1972) Photographer, creator of inventive settings
and images sometimes humorous, enchanting or haunting.

e Thomas Satterwhite Noble (1835-1907) Artist known for powerful works depicting
the horrors of slavery.

e Samuel Woodson Price (1828-1891) Portrait artist.

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e Paul Marvin Rudolph (1918- ) Architect whose work was influential as an alternative
to the rectilinear glass and steel International Style; designed the School of Art and
Architecture at Yale University in 1964.

e Paul Sawyier * (1865-1917) Landscape artist; known for scenes of Frankfort and the
Kentucky River.

e Gideon Shryock (1802-1880) Architect; introduced Greek Revival style to the "West."

e Moneta J. Sleet, Jr. (1926-1996) First black American to win the Pulitzer Prize in
photography, 1969: the forlorn image of a veiled Coretta Scott King cradling her young
daughter on a crowded church pew at the funeral of her husband, Martin Luther King,
fr.

e Morgan (1910-1993) and Marvin Smith (1910- ) Photographers of the Harlem
Renaissance.

e Edward Troye * (1808-1874) Equine artist; foremost American sports painter of the
nineteenth century.

e Helen M. Turner (1858-1958) impressionistic landscape artist; portraitist.

e John Tuska * (1931-1998) Versatile artist known principally for his sculpture, especially
the human form.

e Ellis Wilson (1899-1977) Described as "an interpreter of Negro life," Wilson turned the
everyday lives of black people into colorful, vibrant art.

e Enid Yandell (1870-1934) Sculptor; first female member of the National Sculpture
Society.

e Noah Adams Broadcast journalist, co-host of National Public Radio's "All Things
Considered" since 1979.

e James Lane Allen (1849-1925) "The Choir Invisible," "A Kentucky Cardinal."

e Joseph Alexander Altsheler (1862-1919) "The Young Trailers" series of historical
novels (1907-12) were the most popular stories for young people in their day.

e Harriette Simpson Arnow (1909-1986) "The Dollmaker," “Hunter's Horn,” "Seedtime
on the Cumberland, "Between the Flowers."

e Wendell E. Berry (1934- ) A modern-day Agrarian, environmentalist, poet, novelist,
and essayist; "The Unsettling of America," "Nathan Coulter," "A Place on Earth," "The
Memory of Old Jack."

e Cleanth Brooks (1906-1994) Literary critic, literary historian; co-founder and editor
(with Robert Penn Warren) of the "Southern Review," the most highly respected
literary journal in America during the 1930s; "Modern Poetry and the Tradition," "The
Well-Wrought Urn: Studies in the Structure of Poetry," "A Shaping Joy: Studies in the
Writer's Craft."

e William Wells Brown (1814-1884) Physician, historian, and author: America's first
black novelist; "Clotel; or, the President's Daughter: a Narrative of Slave Life in the
United States," published in 1853 in London, but not published in the United States
until 1969 because the story was loosely based on Thomas Jefferson and his slave
Sally Hemings.

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e Charles Neville Buck (1879-1930) Novelist; "The Call of the Cumberlands," "Battle
Cry," "The Code of the Mountains."

e Harry Caudill (1922-1990) Political writer, conservationist, novelist; "Night Comes to
the Cumberlands: A Biography of a Depressed Area."

e Billy C. Clark (1928- ) Novelist, poet; "Song of the River," "A Long Row to Hoe,"
"Goodbye Kate," "Sourwood Tales," "To Leave My Heart at Catlettsburg."

e Thomas D. Clark * (1903- ) Historian laureate of Kentucky; "A History of Kentucky,”
"The Kentucky," "Frontier America," "The Emerging South," "Kentucky: Land of
Contrast," "Pills, Petticoats and Plows: The Southern Country Store,"

e Irvin S. Cobb (1876-1944) Journalist, humorist, short story writer; best known for his
cigar and his Judge Priest stories.

e Joseph S. Cotter (1861-1949) Poet, short story writer, educator; "Negro Tales," "A
White Song and a Black One," "Negroes and Others at Work and Play."

e Alfred Leland Crabb (1884-1980) Novelist, educator; "Dinner at Belmont," Home to
Kentucky," “Peace at Bowling Green," "Journey to Nashville.”

e Joe Creason (1918-1974) Journalist; "Joe Creason's Kentucky," "Crossroads and Coffee
Trees."

e Olive Tilford Dargan (1869-1968) Poet, novelist (pen name Fielding Burke); "Highland
Annals," "Call Home the Heart," "The Welsh Pony.”

e Guy Davenport * (1927- ) Poet, critic, essayist, writer of short fiction; "The Cardiff
Team," "Twelve Stories," "Tatlin! Six Stories."

e David Dick * (1930- ) CBS News correspondent, director of the University of Kentucky
School of Journalism, author; "The Scourges of Heaven," "The View From Plum Lick,"
"The Quiet Kentuckians."

e Michael Dorris (1945-1997) Founder of the Native American Studies Program at
Dartmouth College, author; "A Yellow Raft in Blue Water," "The Broken Cord,"
"Morning Girl," "Sees Behind Trees."

e Leon V. Driskell * (1932-1995) Novelist, critic, educator; "Passing Through."

e Bob Edwards Broadcast journalist, host of National Public Radio's "Morning Edition"
since 1979.

e John Fox, Jr. (1863-1919) "The Little Shepherd of Kingdom Come," "The Trail of the
Lonesome Pine."

e Janice Holt Giles * (1909-1979) Historical novelist; "The Kentuckians," "Hannah
Fowler," "The Enduring Hills."

e Caroline Gordon (1895-1981) Novelist, short story writer, critic; "Penhally," "Aleck
Maury," “None Shall Look Back."

e Sue Grafton (1940- ) Mystery writer, author of the best-selling alphabet mystery series

such as "O is for Outlaw."

Jonathan Greene * (1943- ) Poet and Gnomen Press publisher; "Small Change for the

Long Haul."

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e A.B. Guthrie, Jr. * (1901-1991) Pulitzer Prize winning novelist; "The Big Sky," “The Way
West," "These Thousand Hills."

e James Baker Hall (1935-) Author and poet; "Music for a Broken Piano," "Getting It on
Up to the Brag," "The Mother on the Other Side of the World."

e James W. Hall (1947- ) Suspense writer; "Body Language."

e Elizabeth Hardwick (1916- ) Literary critic, editor, essayist and novelist; "Sleepless
Nights," “Seduction and Betrayal," "Bartleby in Manhattan," "A View of My Own," "Sight
Readings: American Fictions, “Herman Melville."

e Lynn S. Hightower * (1955- ) Fiction writer; "No Good Dead," " Flashpoint," "Eyeshot,
"Alien Blues."

e Duncan Hines (1880-1959) Food critic, restaurant-guide publisher; “Adventures in
Good Eating," “Lodging for a Night."

e Felix Holt (1898-1954) "The Gabriel Horn," "Dan'l Boone Kissed Me."

e Harlan Hubbard (1900-1988) "Shantyboat: A River Way of Life," "Payne Hollow: Life on
the Fringe of Society."

e Bell Hooks (1952- ) Literary activist; "Ain't | A Woman; Black Women and Feminism,"
"Outlaw Culture: Resisting Representation,” "Killing Rage: Ending Racism."

e Virginia Cary Hudson (1894-1954) "O Ye Jigs and Juleps," a series of hilarious school
essays written in 1904 and published posthumously.

e Fenton Johnson (1953- ) Novelist; "Crossing the River," "scissors, paper, rock."

e Paul Brett Johnson (1947- ) Children's author and illustrator; "A Perfect Pork Stew,"
"The Cow Who Wouldn't Come Down," “Old Dry Frye."

e Annie Fellows Johnston * (1863-1931) The first Kentuckian to gain fame as an author
of children's stories; "The Little Colonel" series.

e Gayl Jones (1949- ) Novelist, poet; "Corregidora," "White Rat," "Eva's Man," "The
Healing," "Mosquito."

e Marcia Thornton Jones * Children's books author; "The Adventures of the Bailey
School Kids," "Triplett Troubles," "Bailey City Monsters."(1958- )

e Barbara Kingsolver * (1955- ) Novelist, poet; "The Bean Trees," "Animal Dreams,”
"Pigs in Heaven," "The Poisonwood Bible."

e Arthur Krock (1886-1974) Journalist, winner of four Pulitzer Prizes; he may have been
the most influential journalist of his era for his column “In the Nation," which ran in
the New York Times for 33 years.

e George Ella Lyon (1949- ) Novelist, poet; "A Regular Rolling Noah," "Catalpa," "Come a
Tide," "With a Hammer for My Heart."

e Bobbie Ann Mason (1940- ) Novelist; "Clear Springs," "In Country," "Feather Crowns,"
"Shiloh," “Spence & Lila," "Midnight Magic."

e Ed McClanahan (1932- ) Novelist; "The Natural Man," "Famous People | Have Known,"
"A Congress of Wonders," "My Vita, If You Will."

e Teresa Medeiros (1963- ) romance novelist; "Once An Angel,” "A Whisper of Roses,"
"Lady of Conquest," "Nobody's Darling."

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e Thomas Merton * (1915-1968) Legendary Trappist monk, priest, author, poet, essayist
on spiritual and social issues; "The Seven Storey Mountain."

e Jim Wayne Miller * (1936-1996) Novelist, Kentucky Poet Laureate 1986; "Dialogue
With a Dead Man," "The Mountains Have Come Closer," “His First, Best Country,"
"Newfound."

e J.T. Cotton Noe (1869-1953) Kentucky's first poet laureate, 1926-53; "Tip Sams of
Kentucky and Other Poems."

e Gurney Norman (1937- ) Novelist; "Divine Right's Trip," "Kinfolks."

e Marsha Norman (1947- ) Pulitzer Prize winning playwright; "Getting Out," “night
Mother"

e Chris Offutt (1958- ) "Kentucky Straight," "The Same River Twice," "Out of the Woods,"
"The Good Brother." .

e Theodore O'Hara (1820-1867) "Bivouac of the Dead."

e John Patrick (1906- ) Pulitzer Prize winning playwright, screen writer; "Teahouse of the
August Moon," "The Hasty Heart."

e John Ed Pearce (1919- ) Pulitzer Prize winning journalist; "Divide and Dissent," "The
Ohio River."

e Joe Ashby Porter (1942- ) Novelist; "Eelgrass," "The Kentucky Stories."

e Ted Poston (1906-1974) First African-American to spend a career at a mainstream
daily newspaper (New York Post); considered the dean of black journalists during the
civil rights movement.

e Alice Hegan Rice (1870-1942) "Mrs. Wiggs of the Cabbage Patch," "Lovey Mary."

e Elizabeth Madox Roberts (1881-1941) "The Time of Man," "The Great Meadow."

e Diane Sawyer (1945- ) Broadcast journalist, commentator.

e Effie Waller Smith (1879- 1960) Traditional poet; "Rhymes from the Cumberland,"
"Rosemary and Pansies."

e Martha Bennett Stiles * (1933- ) Novelist and childrens' author; "Lonesome Road,"
"Island Magic," "Kate of Still Waters," "Sarah the Dragon Lady."

° James Still * (1906- ) Poet, novelist; Kentucky Poet Laureate 1995-97; "River of Earth,"
"Pattern of a Man and Other Stories," "The Wolfpen Notebooks," "Sporty Creek."

e Jesse Stuart (1907-1984) Author, educator, Kentucky Poet Laureate; "Man With a Bull-
Tongue Plow," Taps for Private Tussie," "Head o' W-Hollow," "The Beatinest Boy"; his
autobiographical book, "The Thread That runs So True" in 1949 was called "the best
book on education in the last 50 years" by the National Education Association.

e Hollis Summers (1916-1987) Novelist; "Brighten the Corner," "City Limit," "The
Weather of February," "The Garden," "The Day After Sunday."

e Allen Tate (1899-1979) Critic, poet, novelist; one of the original Nashville "Fugitives" in
the 1920s and one of the Agrarians; "The Fathers," "Ode to the Confederate Dead."

e Walter Tevis * (1928-1984) Novelist, science fiction writer; "The Hustler," "The Man
Who Fell to Earth."

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~ @e Helen Thomas (1920- ) Journalist, UP] White House correspondent from 1961-2000,
covering United States presidents from Kennedy through Clinton; "Front Row at the
White House."

e Hunter S. Thompson (1937- ) Inventor of "Gonzo" journalism, using fiction techniques
to portray people and events Thompson was personally involved in; began writing for
"Rolling Stone" in 1970; "The Great Shark Hunt," "Fear and Loathing in Las Vegas: A
Savage Journey to the Heart of the American Dream," "The Proud Highway," "The Rum
Diary.”

e Robert Penn "Red" Warren (1905-1989) The century's most versatile figure in
American letters; poet, novelist, critic, essayist, biographer; the United States’ first Poet
Laureate; Pulitzer Prize winner 1947, 1958, 1979 and the only person to win the prize
for both prose and poetry and the only three-time winner; "All the King's Men,"
"Promises," "World Enough and Time," "The Cave."

e Henry Watterson * (1840-1921) Pulitzer Prize for editorial writing, 1918.

e Backstreet Boys Two band members are Kentuckians: Brian Littrell (1975- ) and Kevin
Richardson (1972- ).

e Ned Beatty (1937- ) Actor; "Deliverance," "White Lightning," “Nashville,” "Network,"
"The Big Easy."

e Foster Brooks (1912- ) Comedian known for his "Lovable Lush" role.

e Marty Brown (1965- ) Country singer; "Wildest Dreams," "Every Now and Then," "High
and Dry."

¢ John Howard Carpenter (1948- ) Producer/director/writer; "Halloween," “The Fog,"
"The Thing"; Academy Award-winner for "The Resurrection of Bronco Billy."

e Steven Curtis Chapman (1962- ) Gospel singer.

e Manuel Dewey "Old Joe" Clark, Jr. (1922-1998) Country singer and comedian.

e George Clooney (1961- ) Actor; "From Dusk Till Dawn," "Batman & Robin," "ER,"
"Roseanne," "Sisters."

e Nick Clooney Actor, American Movie Classics host.

« Rosemary Clooney (1928- ) Singing star of radio, motion pictures, and television;
“Come-on-a-My House."

e John Conlee Country singer; "Rose Colored Glasses," “Backside of Thirty," "Before My
Time."

e William Conrad (1925-1997) Actor; "Jake and the Fatman," "Nero Wolfe."

e Billy Ray Cyrus (1961- ) Country singer; "Achy Breaky Heart, "Some Gave All," "Trail of
Tears," "It's All the Same to Me,""It Won't Be the Last."

e Roger Davis (1939- ) Television actor; "Gallant Men," "Dark Shadows," "The Young
Country," Alias Smith and Jones."

e Skeeter Davis (1931-) Country singer; "I Forgot More Than You'll Ever Know (About
Him)," "The End of the World."

e Johnny Depp (1963- ) Actor; "Nightmare on Elm Street," "Platoon," "Edward
Scissorhands," "21 Jump Street," "Cry Baby."

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Todd Duncan (1903-1998) Operatic baritone who originated the role of Porgy in
George Gershwin's Porgy and Bess; a trailblazer in desegregating American opera; in
1945 he became the first black artist to appear with the New York City Opera.

Irene Dunne (1898-1990) Actress; "Showboat," "Cimarron," "| Remember Mama,"
"Anna and the King of Siam."

The Everly Brothers Don (1937- ) and Phil (1939- ) Country and rockabilly singers.
Tom Ewell (1909- ) Actor; “Adam's Rib," "The Seven Year Itch," "The Girl Can't Help It."
Crystal Gayle (1951- ) Country and pop singer, winner of three Grammys and four
Academy of Country Music Awards.

Haven Gillespie (1888-1975) Wrote more than a thousand popular songs including
"Violet Blue," "God's Country," "Right or Wrong," "Santa Claus is Coming to Town."
Edwin Franko Goldman (1878-1956) Founder and conductor of the Goldman Band,
one of the foremost in the U.S.; composer, best known for "On the Mall."

D.W. Griffith (1875-1948) Innovative movie producer best known for “The Birth of a
Nation."

Tom T. Hall (1936- ) Country singer, songwriter, and author, winner of a Grammy and
46 BMI awards; "Harper Valley PTA."

Lionel Hampton (1908- ) Jazz musician, band leader, and composer, the "King of
Swing" was best known vibraphone player in the world; "Night in Tunisia," "Flying
Home."

W.C. Handy (1873-1958) The "Father of the Blues" began his musical career in
Henderson, Kentucky where he lived from 1893-1903.

Larnell Harris Gospel singer.

Louis Marshall "Grandpa" Jones (1913-1998) Country music singer, banjo player,
comedian; "Old Rattler," "Eight More Miles to Louisville," "Mountain Dew," Old Rattler's
Pup," "Tragic Romance."

Jon Jory Producing Director of Actors Theatre of Louisville

Ashley Judd * (1968- ) Actress; "Kiss the Girls," "A Time to Kill," "Simon Birch," "The
Locusts, "Kuff's," "Double Jeopardy."

The Judds Naomi (1946- ) & Wynonna (1964- ) Country singers, winners of more than
30 music awards including four Grammys.

Kentucky Headhunters Country musicians; "Walk Softly On This Heart of Mine,"
"Dumas Walker."

John Lair (1894-1985) Country music entrepreneur, promoter, and folklorist; created
the "Renfro Valley Barn Dance" and the "Saturday Night Barn Dance" radio shows;
developed the Renfro Valley Country Music Center.

Arthur Lake (1905-1987) Actor, known for his portrayal of Dagwood Bumstead in the
"Blondie" series of films.

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e Homer Ledford * (1927- ) Bluegrass musician with the Cabin Creek Band;
internationally-recognized instrument maker, especially known for his dulcimers, one
of which is part of the permanent musical instrument collection at the Smithsonian
Institution.

e Patty Loveless Country singer; "Blue Side of Town," "Chains," "Hurt Me Bad (In a Real
Good Way)."

e Loretta Lynn (1935- ) Country singer and songwriter, known as "The Coal Miner's
Daughter “and the "First Lady of Country Music"; "I'm a Honky Tonk Girl," “Blue
Kentucky Girl," "You Ain't Woman Enough."

e Lee Majors (1939- ) Actor; "Big Valley," "Will Penny,” "The Six Million Dollar Man, "The
Fall Guy."

e Victor Mature (1915-1999) Star of more than fifty films; "No, No Nanette," "My Darling
Clementine," "The Robe," "Samson and Delilah," "Chief Crazy Horse."

e Una Merkel (1903-1986) Tony Award-winning actress; "Destry Rides Again," "Summer
and Smoke."

e Bill Monroe (1911-1996) "The Father of Bluegrass Music" known for ballads such as
"Blue Moon of Kentucky," Molly and Tenbrook," "My Rose of Old Kentucky," and "Mule
Skinner Blues."

e John Michael Montgomery (1965- ) Country singer; "| Swear," "Be My Baby Tonight,"
"| Love the Way You Love Me."

e Patricia Neal (1926- ) Academy Award-winning actress; "Hud," "A Face in the Crowd,"
"The Fountainhead," "The Subject Was Roses."

e John Jacob Niles (1892-1980) Folk singer, collector of folk songs and folk music.

e Warren Oates (1928-1982) Actor; "In the Heat of the Night," "The Wild Bunch," "Two
Lane Blacktop," "The Hired Hand," "Badlands," "The Border."

e Joan Osborne (1962- ) Singer; "Righteous Love," "Soul Show," "Blue Million Miles,”
"Relish" (Top Ten and triple-platinum, Entertainment Weekly album of the year, Rolling
Stone cover, and seven Grammy nominations in 1996).

e John Patrick (1905- ) Playwright and screenwriter, the author of "The Hasty Heart"
and the Pulitzer Prize-winning "The Teahouse of the August Moon."

¢ Boots Randolph (1927- ) Tenor saxophonist; "Yakety Sax," Cacklin’ Sax," "Little Big
Horn,” “Chick in the Rough," "Simple Simon."

e William Ray Opera baritone and actor famous in Europe; "Hello Young Lovers," "Das
Goldene Paul Abraham Album," Black and Gold," William Ray Sings Negro Spirituals."

e Jean Ritchie (1922- ) Folk singer and songwriter, emphasizes traditional ballads in
their original form.

e Kelly Rutherford (1968- ) Actress; "Melrose Place."

° Ricky Skaggs (1954 - ) Award-winning musician known for a unique blend of
bluegrass, country, jazz and "new traditional" styles.

e Harry Dean Stanton (1926- ) Actor; "Paris, Texas," "Cool Hand Luke," "Kelly's Heroes,"
"Pat Garrett and Billy the Kid," "Private Benjamin," "Pretty in Pink."

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e Robert L. Surtees (1906-1985) Academy Award-winning cinematographer;
"Oklahomal," "Ben-Hur," "The Last Picture Show," "King Solomon's Mines," "The Bad
and the Beautiful," "The Sting," "The Graduate," "Summer of '42."

e Daniel Taradash (1913- ) Academy Award-winning screenwriter and director; "From
Here to Eternity," "Picnic," "Bell, Book and Candle."

e Mary Travers (1937- ) Member of folk music trio Peter, Paul, and Mary; “Leavin' On a
Jet Plane,” "Puff the Magic Dragon."

e Merle Travis (1917-1983) Grammy-winning guitarist known for originating the "Travis
picking style"; designed the Fender guitar.

e Gus Van Sant (1952- ) Award-winning director: "Drugstore Cowboy," "Mala Noche."

e Jim Varney (1949-2000) Actor and comedian, best known for his Ernest P. Warrell
character; "Ernest Goes to Camp," “Ernest Saves Christmas," "Dr. Otto and the Riddle
of the Gloom Beam,” The Beverly Hillbillies," "Treehouse Hostage."

e Steve Wariner (1954- ) Country singer; "| Should Be With You," "Life's Highway," "You
Can Dream of Me," "Some Fools Never Learn."

e Keith Whitley (1955-1989) Country singer; “I'm No Stranger to the Rain," "Don't Close
Your Eyes," "| Wonder Do You Think of Me."

e Chuck Woolery (1951- ) “Hook 'Em Up Chuck" television host of "Love Connection"
and "The Dating Game."

e Dwight Yoakam (1956- ) Country singer; "Honky Tonk Man," "Two Doors Down,"
"Guitars, Cadillacs," "Streets of Bakersfield," "Little Sister."

e Sean Young (1959- ) Actress; "Blade Runner," No Way Out."

e Muhammad Ali (1942- ) World Heavyweight Champion during 1964-67, 1974-78, and
1978-79; the only boxer to win the undisputed heavyweight title three times; probably
the quickest heavyweight boxer who ever fought.

e Eddie Arcaro * (1916-1997) Only jockey to ride two Triple Crown winners; won a
record five Kentucky Derbies; 1958 National Museum of Racing Hall of Fame inductee.

e Frank Beard * (1939- ) Professional golfer, top money winner in 1969.

e Bernie Bickerstaff (1944- ) Youngest assistant coach in the NBA at age 29, named
Coach of the Year in 1987, general manager of the Denver Nuggets, Washington
Bullets coach.

e Susan Bradley-Cox (1937- ) World-class amateur athlete, five-time World Triathlon
Championship gold medal winner, 1989, '93, '94, '97 and '98; All American swimmer.

e Gay Brewer * (1932- ) Professional golfer, winner of more than ten PGA titles.

e Paul "Bear" Bryant * (1913-1983) All-time winningest coach in University of Kentucky
history, 1946-53.

e Don Brumfield (1938- ) Jockey, retired with the most wins in the history of both
Churchill Downs (925 wins) and Keeneland (716 wins).

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e Jim Bunning (1931- ) Baseball Hall of Fame pitcher, U.S. senator and representative;
had a 17 year record of 2,855 strikeouts, placing him ahead of Cy Young and second
only to Walter Johnson on the all-time strikeout list; first pitcher to throw no-hitters in
both the American and National Leagues.

e Archie Burchfield (1939- ) Hall of Fame croquet player, winner of five national titles in
singles and doubles.

e Steve Cauthen (1960- ) Hall of Fame jockey; In 1977 became the first jockey in the
world to win $6 million in purses; youngest jockey to win the Triple Crown on Affirmed
in 1978; two-time Eclipse Award winner; only jockey ever to win all three classics in the
U.S. (Kentucky Derby, Preakness, Belmont Stakes) and in England (Two Thousand
Guineas, Epsom Derby, St. Leger).

e A.B. "Happy" Chandler (1898-1991) National Commissioner of Baseball, 1945-51;
helped integrate major-league baseball; Baseball Hall of Fame; twice Kentucky
governor; U.S. senator.

e Citation (1945-1970) First horse to earn more than $1 million racing and the last
horse to win the Triple Crown (1948) until Secretariat won it 25 years later; 1948 Horse
of the Year.

e Earle Combs (1899-1976) Hall of Fame baseball player and coach, batted over .300
nine times and led the American League in at-bats (648) and hits (231) and in triples in
1927, '28 and '30.

e Dave Cowens (1948- ) Named most valuable player by the National Basketball
Association in 1973.

e Denny Crum * (1937- ) University of Louisville head basketball coach, with two NCAA
national championships in 1980 and '86; 1994 Basketball Hall of Fame inductee.

e Louie Dampier * (1944- ) All-time leading scorer in the history of the American
Basketball Association as a player for the Kentucky Colonels.

e Ed Diddle (1895-1970) Western Kentucky University head basketball coach 1922-64,
first man to coach 1,000 games at the same college, fourth winningest coach in NCAA
Division 1.

e Jimmy Ellis (1940- ) Winner of the World Boxing Association heavyweight
championship, 1968.

e Joe Fulks (1921-1976) Hall of Fame professional basketball player, credited with
introducing the jump shot to the game, named outstanding athelete of the year in
America in 1948, elected to the NBA's Silver Anniversary All-Time Team in 1971.

e Larry Gilbert (1942-1998) Professional golfer, winner of the 1994 Dallas Reunion Pro-
Am, 1994 Vantage Championship, 1997 Ford Senior Players Championship, and the
PGA of America Club Professional Championship in 1981, 1982 and 1991.

e Darrell Griffith (1958- ) Basketball player, led the University of Louisville to the NCAA
national championship in 1980 and received the John Wooden Award as the nation's
top player; U of L's all-time leading men's basketball scorer; NBA Rookie of the Year.

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e Cliff Hagan (1931- ) Hall of Fame Basketball player; restauranteur; UK athletic director
(1975-88); led the University of Kentucky to 86 wins and five losses during 1950-54
and the NCAA championship in 1951; NBA All-Star five times.

e Joe B. Hall (1928- ) University of Kentucky head basketball coach 1972-85, led the
Wildcats to eight SEC championships, one NCAA championship in 1978, and was SEC
Coach of the Year four times.

e Clem Haskins (1943- ) Basketball player and coach; Western Kentucky University two-
time All-American; WKU all-time record for points in a single game; first African-
American head men's basketball coach at a predominantly white Kentucky university
(WKU, 1980-86).

e Paul Hornung (1935- ) Football player, winner of the Heisman Trophy in 1957, led the
NFL in scoring from 1959-61, 1986 Pro Football Hall of Fame inductee

e Dan Issel * (1948- ) Hall of Fame basketball player, University of Kentucky men's
basketball all-time leading scorer and rebounder, Denver Nuggets leading rebounder
and scorer.

e Louis Brown "Sweet Lou" Johnson (1934- ) Baseball player; 1965 World Series hero
with a game-winning home run in the seventh game for a Dodgers victory.

e Roy Kidd (1931- ) Eastern Kentucky University football coach, 1963-present; two NCAA
Divison I-AA titles; third-winningest active coach in NCAA Division |; third most wins by
a coach at a single school.

e Man o' War (1917-1947) "Big Red" won 20 times in 21 starts; set five world records, in
spite of carrying up to 138 pounds, unheard of today; his funeral was broadcast
nationally on the radio and nine people delivered eulogies; elected Horse of the
Century by the Associated Press.

e Tamara McKinney (1962- ) Skiier, gold medal winner of the Women's Combined Title,
World Alpine Ski Championships; the only American woman to win an overall World
Cup Championship (1983) and World Cup season titles in giant slalom (1981, 1983)
and slalom (1984).

e Mary Meagher (1965- ) Olympic swimmer, "Madame Butterfly" set seven world
records in the 100-meter and 200-meter butterfly, won three gold medals in the 1984
Olmpics, 1993 inductee to the International Swimming Hall of Fame.

e Tori Murden (1963- ) The first American and the first woman to row across the
Atlantic alone (voyage completed 12-3-1999), and the first American and the first
woman to ski to the geographic South Pole.

e Isaac Burns Murphy (1861-1896) Record-setting jockey, first back-to-back and three
time Kentucky Derby winner, won 49 of 51 races at Saratoga in 1882, won the St.
Leger Stakes and the Travers Stakes, won the Latonia Derby five times, won the Clark
Stakes four times, and won four of the first five runnings of the American Derby.

e Rick Pitino * (1952- ) University of Kentucky men's basketball coach, 1989-97, won
1996 NCAA championship.

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e Frank Ramsey (1931- ) Hall of Fame basketball player, twice an All-American, and
three time All-SEC; his Boston Celtics team won seven NBA titles.

e Pee Wee Reese (1918-1999) Hall of Fame baseball player; led the National League in
stolen bases, double plays four times, runs scored, and in fielding average; named to
the All-Star Team eight times; played on seven NL champion teams, and the only
Dodgers team to win the World Series (1955).

e Ralph Waldo Rose (1885-1913) Olympic gold medalist three times in the shot put; first
man in the world to throw a shot put more than 50 feet; at the 1908 Olympics he
began the tradition of U.S. flagbearers not to dip the flag, which Congress wrote into
law in 1942, stating that the U.S. flag cannot be dipped “to any person or thing."

e Adolph Rupp * (1901-1977) Head basketball coach at the University of Kentucky from
1930-72; led the Wildcats to 27 SEC championships, five Sugar Bowl Tournament
championships, one National Invitational Tournament championship and four NCAA
championships.

e Howard Schnellenberger * (1934- ) Football player and coach; University of Kentucky
All-America tight end; coached the Miami Hurricanes to win the '83 Orange Bowl, and
the University of Louisville to win the '90 Fiesta Bowl and the '93 Liberty Bowl.

e Secretariat * (1970-89) 1973 Triple Crown winner; Horse of the Year, 1972 and '73;
Eclipse Award, 1972; all-time fastest Kentucky Derby and Belmont races.

e Phil Simms (1956- ) Former quarterback for the New York Giants; led the Giants to
their first Super Bowl victory in 1987, receiving the Most Valuable Player award and
shattering Super Bowl records for completing 22 of 25 passes for 268 yards and three
touchdowns.

e Woody Stephens (1913-1998) Hall of Fame horse trainer; he trained more than 300
stakes winners, including two Kentucky Derby winners, five Kentucky Oaks winners,
one Preakness winner, six Eclipse Award winners, and five consecutive Belmont
Stakes winners.

e Valerie Still * (1961- ) All-time leading scorer and rebounder, male or female, in
University of Kentucky basketball history; two-time MVP in the ABL.

e Danny Sullivan (1950- ) Auto racing, Rookie of the Year in 1980, winner of the
Indianapolis 500 and CART/PPG Indy Car Championship.

e Wes Unseld (1946- ) Hall of Fame basketball player; named All-American twice, NBA's
most valuable player, NBA All-Star team five times, most valuable player of the 1978
NBA Championship Series, named one of the 50 greatest players in NBA history in
1996.

e David Walker * (1965- ) Fisherman; Red Man All-American, Angler of the Year in the
1999 Walmart FLW Tour.

e Darrell Waltrip (1947- ) Auto racing; first three-time winner of the prestigious
American Driver of the Year; three-time winner of the NASCAR Winston Cup, 1981, '82
and '85; Daytona 500 champion, 1989.

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e Colonel Matt Winn (1861-1949) Master promoter and innovative track operator; as
vice president and general manager of Churchill Downs, Winn made the Kentucky
Derby the nation's most cherished race.

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Sitemap

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Policies

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General & WebSite Policies

Kentucky Colonels International is a membership association that is developed as a
decentralized autonomous organization (DAO) with Kentucky colonels in many states
and nations around the world. Kentucky Colonels International provides secure
decentralized online membership services to its members.

This WebSite belongs to its Members. This WebSite defines its Users and Members
distinctly. As a WebSite that provides 'services' to our members it is our responsibility is to
provide confidentiality to our Members in our distinct relationship with them as WebSite co-
owners or stakeholders of this WebSite and our organization. Third-parties refers to Users,
Viewers and Others (referring to the Public) of our Content. None of our material is
published or expressed for any commercial purposes under US Law, we do not
provide services to the Public.

Our content and presentation of it is based on the First Amendment of the United States,
Freedom of Speech and the Right to Assemble peacefully. This organization and its
members strive to be compliant with all laws of the United States and Kentucky including
the United States Code of Federal Regulations (CFR) and the Kentucky Revised Statutes
(KRS).

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Third-Parties

None of the information collected through our cloud service provider Google or Google
Analytics is shared with any third-parties. Our members voluntarily provide data through
Google Forms to be listed on our membership roster or to have membership services
provided to them for free or for an annual fee.

Our organization contracts Google as a professional service for services which are
advertising free and the data that is collected about members is used to only to improve our
website and services that we provide. Neither Kentucky Colonels International nor Google
will sell or market the data that we collect to any third parties. Anonymous data such as age
and demographics relative to interest profiles in our content may be used to improve our
content or reorganize the content provided by our organization.

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Other Policies

Kentucky Colonels International maintains four basic Policies for our WebSite for Users and
Viewers.

Other terms, conditions and policies may be applied here without notice and as necessary
to maintain our legal status as a membership organization under development that is

transparent and open to the public.

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« Evolution of the Kentucky Colonel

= Kentucky Colonels Today

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=» Nominate a Colonel
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= Social Media

= Special Services

= Start a Local Chapter

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Contribute to the development of environmental, humanitarian, and social well-being projects
organized and operated by Kentucky Colonels.

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Currently under court order this page has been suspended, we are currently unable to receive or
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Read more about the causes we support below.

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